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                                         189087



                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



  IN RE JOHNSON & JOHNSON                      Civil No. 3:16-md-2738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES, PRACTICES
  AND PRODUCTS LIABILITY
  LITIGATION

  This document relates to:
  Geri Musser

  Case No. 3:24-cv-07429



                                    NOTICE OF FILING

        Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that the Short Form Complaint and Jury Demand was filed on July 1, 2024 on behalf

 of Plaintiff Geri Musser.


 DATED: July 8, 2024.                         Respectfully submitted,

                                              By: /s/ Daniel J. Thornburgh
                                              Daniel J. Thornburgh
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                                            189088


                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 8, 2024, a copy of the foregoing NOTICE OF FILING was

 filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by

 operation of the Court’s electronic filing system to all parties indicated on the electronic filing

 receipt. Parties may access this filing through the Court’s system.


                                                 Respectfully submitted,

                                                 By: /s/ Daniel J. Thornburgh
                                                 Daniel J. Thornburgh
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